Case 2:03-cV-02649-STA-tmp Document 40 Filed 05/24/05 Page 1 of 4 Page|D 192

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MEMPHls-sHELBY coUNTY ‘L` ~`-:r..;F 3th mill j»~‘,;
AIRPORT AUTHORITY, er ai,, vt n CI= w MH:‘ iad

Plaintiffs.
v. NO. 03-2649 B Ph ‘/

coNsoLIDATED

UNITED sTArEs FlRE INSURANCE Co., with No. 04-2432 B An

Defendant.

 

ONE BEACON AMERICAN INSURANCE
COMPANY, et al.,

Plaintift`s,
v. No. 04-2432 B An

JACO A[RFIELD CONS TRUCTION, INC.,
et al.,

Defendants.

 

ORDER GRANTING COUNSEL'S MOTION
FOR ADMISSION PRO HAC VICE

 

This matter came before the Court upon the Motion of J ames W. Bruner, for special admittance
to practice pro hac vice. lt appears to the Court that the Motion is well taken and should be granted
IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that JAMES W.
BRUNER is hereby specially admitted to practice in this Court as counsel for ILLINOIS VALLEY

PAVING COMPANY, in the above-captioned matter.

 

 

UUSTRICT 'CoURT JUDGE
. / "
Th.'s document entered on the docket sheet in compliance Date' mail carl ‘)‘o `:` D_\
with Fluie 58 and/or 79(a) FRCP on j_Q_Z=f/’ viz ~J / \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02649 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

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Case 2:03-cV-02649-STA-tmp Document 40 Filed 05/24/05 Page 3 of 4 Page|D 104

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Case 2:03-cV-02649-STA-tmp Document 40 Filed 05/24/05 Page 4 of 4 Page|D 105

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Honorable .1. Breen
US DISTRICT COURT

